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 6                       IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                        No. CR-21-08043-01-PCT-DJH
10                        Plaintiff,                  ORDER
11   v.
12   Steven Arthur Martis,
13                        Defendant.
14
15            The defendant appeared in court with counsel. The defendant's probable cause
16   hearing was waived, and the detention hearing was submitted on the record including a
17   proffer by defense counsel.       The Court finds probable cause to believe the defendant
18   violated the terms of his supervised release as alleged in the petition. The Court further
19   finds, pursuant to Rule 32.1(a)(6), that defendant has failed to show by clear and
20   convincing evidence that he is not a flight risk or a danger.
21            IT IS HEREBY ORDERED that the defendant shall be bound over for further
22   proceedings on the petition to revoke his supervised release.
23            IT IS FURTHER ORDERED that the defendant is detained as a flight risk and a
24   danger, pending further revocation proceedings.
25            Dated this 2nd day of December, 2022.
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